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6                        UNITED STATES DISTRICT COURT
7                      EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,
11             Plaintiff,
12        v.                              NO. 2:08-CR-0420 WBS
13   IVAN QUINTERO-JIMENEZ,
                                          ORDER
14             Defendant.
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16                               ----oo0oo----
17             Defendant Ivan Quintero-Jimenez’s request for the
18   return of his Motorola cellular telephone is hereby GRANTED;
19   however, his motion for the return of the $1,367.00 in United
20   States currency also seized on September 4, 2008, is hereby
21   DENIED for the reason that such currency was seized and retained
22   by local law enforcement and has since been lawfully forfeited by
23   the State of California.
24             IT IS SO ORDERED.
25   DATED: January 2, 2013
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